Case 2:22-cv-00389-DCN Document 22 Filed 01/26/23 Page 1 of 2

‘UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

CODY J. SCHUELER, an individual,
Plaintiff,
Vv. Case No. 2:22-cv-00389-DCN

FOUR SQUAREBIZ, LLC, a Wyoming
limited liability company, KEITH O.
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE
DOES 1-10,

Defendants.

CLERK’S ENTRY OF DEFAULT

Pursuant to Fed. R. Civ. P. 55(a), it appears by affidavit or otherwise from the
records in the above-entitled action that summons and complaint have been served upon
the Defendants named below. It further appears that the Defendants have failed to plead or
otherwise defend in said action, as directed in said summons and as provided in the Federal
Rules of Civil Procedure. The Defendants, Keith O. Crews and Four Squarebiz, LLC,
are therefore in default.

DATED: 6) fee

Stephen W. Kenyon,

Clerk of the United States District Court
District of Idaho

CLERK’S ENTRY OF DEFAULT —- PAGE 1
Case 2:22-cv-00389-DCN Document 22 Filed 01/26/23 Page 2 of 2

By:

—Depay Clerk

CLERK’S ENTRY OF DEFAULT — PAGE 2
